                        THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  Western Division

 BARTON COLLEGE,

                         Plaintiff,

 v.                                                              Civil Action No.: 5:19-cv-318
                                                          (formerly Case No. 19-CVS-965
 ARAMARK MANAGEMENT SERVICES                          in the Superior Court of Wilson County)
 LIMITED PARTNERSHIP,

                         Defendant.


                                      NOTICE OF REMOVAL

        Defendant Aramark Management Services Limited Partnership (“Aramark”), by counsel,

hereby removes this action pursuant to 28 U.S.C. §§ 1332, 1441, and 1446 from the Superior Court

for Wilson County, North Carolina (“State Court”) to the United States District Court for the

Eastern District of North Carolina and respectfully states to this Court the following:

        1.      On June 25, 2019, Plaintiff Barton College (“Plaintiff”) commenced this action by

filing a complaint (the “Complaint”) assigned case number 19-CVS-965 in the Superior Court for

Wilson County, North Carolina. (See Complaint attached hereto as Exhibit A).

        2.      As more fully set out below, this case is properly removed to this Court pursuant to

28 U.S.C. §§ 1441 and 1446 because Aramark: (1) satisfied the procedural requirements for

removal; and (2) this Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1332.

        3.      Aramark submits this Notice of Removal without waiving, and expressly reserving,

the right to assert any and all defenses.




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I.     Defendant Has Satisfied the Procedural Requirements for Removal.

       4.       Aramark first received notice of the Complaint on June 26, 2019 when service was

affected on Aramark’s registered agent for service of process. See Exhibit A.

       5.       This Notice of Removal is being timely filed pursuant to 28 U.S.C. § 1446(b)

because it is filed “within thirty days after the receipt by the defendant, through service or

otherwise, of a copy of the initial pleading setting forth the claim for relief upon which such action

or proceeding is based….”

       6.       Venue is proper in this Court pursuant to 28 U.S.C. § 127(a) because it is the

“district and division embracing the place where such action is pending.” See 28 U.S.C. § 1441(a).

       7.       No previous application has been made for the relief requested herein.

       8.       Pursuant to 28 U.S.C. § 1446(a), a copy of all process, pleadings, and orders served

upon or mailed to Aramark is attached as Exhibit A hereto and incorporated herein.

       9.       Pursuant to 28 U.S.C. § 1446(d), a copy of the Notice of Removal is being served

upon Plaintiff, and a copy is being filed with the Clerk of the Superior Court of Wilson County.

II.    Removal Is Proper Because This Court Has Diversity Jurisdiction Pursuant to 28
       U.S.C. §§ 1332 and 1441.

       10.      This action is within the original jurisdiction of the United States District Court

pursuant to 28 U.S.C. § 1332 which provides that “[t]he district courts shall have original

jurisdiction of all civil actions where the matter in controversy exceeds the sum or value of

$75,000, exclusive of interests and costs, and is between - (1) citizens of different States...” 28

U.S.C. § 1332(a).




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        A.          There is Complete Diversity Between the Parties.

        11.         Diversity of citizenship is determined at the time an action is commenced.

Freeport-McMoRan, Inc. v. K N Energy, Inc., 498 U.S. 426, 428, 111 S. Ct. 858 (1991).

        12.         Pursuant to 28 U.S.C. § 1332(c), a corporation is deemed to be a citizen of both the

state in which it is incorporated and in which it maintains its principal place of business. Johnson

v. Advance Am., 549 F.3d 932, 935 (4th Cir. 2008) (holding “statute's use of the conjunctive gives

dual, not alternative, citizenship to a corporation whose principal place of business is in a State

different from the State where it is incorporated.”)

        13.         According to the Complaint, Plaintiff is an independent private college located in

Wilson, North Carolina. (Compl. ¶ 3.) Further, Plaintiff is registered to do business in the state of

North Carolina and registered as a domestic non-profit corporation with its principal place of

business in Wilson, North Carolina.

        14.         Aramark is a Delaware limited partnership with its principal place of business in

Delaware. As a limited partnership, Aramark has the citizenship of its partners. See Cmty. Motors

Prop. Assocs. Ltd. P'ship v. McDevitt St. Bovis, Inc., No. 94-1949, 1995 U.S. App. LEXIS 15508,

at *3 (4th Cir. June 22, 1995) (affirming lower court ruling that “for purposes of establishing

diversity of citizenship, a limited partnership is a citizen of every state of which one of its partners

is a citizen[.]”)

        15.         Aramark’s partners are Aramark SMMS LLC and Aramark Services, Inc.

        16.         Aramark SMMS LLC is a Delaware limited liability corporation with is principal

place of business in Philadelphia, Pennsylvania.

        17.         Aramark SMMS LLC’s sole member is Aramark Services, Inc., which is a

Delaware corporation with its principal office located in Philadelphia, Pennsylvania.


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        18.      As a result, Aramark is a citizen of Delaware and Pennsylvania for purposes of

determining the existence of diversity jurisdiction.

        19.      As Plaintiff is a citizen of North Carolina, and Aramark is a citizen of Delaware

and Pennsylvania, complete diversity exists between the parties.

        B.       The Amount in Controversy Requirement is Satisfied.

        20.      “The party seeking removal has the burden of establishing by a preponderance of

the evidence that the jurisdictional threshold amount in controversy is met.” Bartnikowski v. NVR,

Inc., 307 F. App’x. 730, 734 (4th Cir. 2009). See also, Dart Cherokee Basin Operating Co., LLC

v. Owens, 135 S. Ct. 547, 554, 190 L. Ed. 2d 495 (2014) (“[A] defendant's notice of removal need

include only a plausible allegation that the amount in controversy exceeds the jurisdictional

threshold.”).

        21.      The Fourth Circuit defines the amount in controversy as “the pecuniary result to

either party which [a] judgment would produce.” Dixon v. Edwards, 290 F.3d 699, 710 (4th Cir.

2002) (quoting Gov’t Emp. Ins. Co. v. Lally, 327 F.2d 568, 569 (4th Cir. 1964)).

        22.      A party’s prayer for relief can evidence the amount in controversy. Gentry v.

Hyundai Motor Am., Inc., No. 3:13-cv-00030, 2017 U.S. Dist. LEXIS 8609, at **191-92 (W.D.

Va. Jan. 23, 2017) (holding that compensatory damages and damages such as attorneys’ fees are

appropriate to include in the amount-in-controversy calculation).

        23.      In the instant matter, Plaintiff’s prayer for relief requests damages in excess of

$25,000 for, inter alia, overpayment “throughout the period of July, 2009, through December 2018

. . .” (Compl. at pg. 6.)




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       24.       Plaintiff’s Complaint further alleges that it sent a demand letter for payment in the

sum of $1,331,284.69 which Plaintiff alleges to represent an amount by which Plaintiff was

overbilled from July 2006, through November 2018. (Compl. ¶ 12.)

       25.       Although Plaintiff’s claim for damages is not entirely clear, a fair reading of the

prayer for relief and supporting allegations establishes that Plaintiff seeks damages well in excess

of $75,000.00.

       26.       As the request for compensatory damages is greater than $75,000.00, the amount-

in-controversy requirement is satisfied.

       27.       Because the United States District Court for the Eastern District of North Carolina

has original jurisdiction of this civil action pursuant to 28 U.S.C. § 1332, which provides for

“original jurisdiction of all civil actions where the matter in controversy exceeds the sum or value

of $75,000” and is between “citizens of different” states, this case is properly removable pursuant

to 28 U.S.C. § 1441, in its entirety, to this Court, and this Court has jurisdiction over this matter.

       WHEREFORE, Defendant Aramark Management Services Limited Partnership

respectfully removes this action from the Superior Court Division for the County of Wilson, North

Carolina, and requests that the action proceed in this Court as an action properly removed.

       Respectfully submitted this the 26th day of July, 2019.


                                        NELSON MULLINS RILEY & SCARBOROUGH LLP

                                        By: /s/ Christopher J. Blake
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                    Counsel for Defendant Aramark Management Services
                    Limited Partnership.




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                              CERTIFICATE OF SERVICE

      I hereby certify that on this the 26th day of July, 2019, a true and accurate copy of
Defendant’s Notice of Removal was sent via Federal Express to:

                            William E. Wheeler
                            Scott F. Wyatt
                            Donavan J. Hylarides
                            Wyatt Early Harris Wheeler LLP
                            1912 Eastchester Dr., Suite 400
                            High Point, NC 27265
                            Counsel for Plaintiff



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